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Attorneys for Defendants Garth Andre Naar and Avatar Management LLC

EHP60N WAKEMAN LLC, EHP248O CENTER                 UNITED STATES DISTRICT COURT
LLC, EHP120N IVY LLC, EHP242EO BURNETT             FOR THE DISTRICT OF NEW JERSEY
LLC, ERIC HANTMAN, derivatively on behalf of       CIVIL ACTION NO. 2:18-cv-11047-KM-JBC
EHP76B HECKEL LLC, EHP224N PARKER LLC,
HHP256 NEPTUNE LLC, UHP461-HHP6600NB                            Civil Action
SMITH LLC, and PRIME NY INC., derivatively on
behalf of EHP105N SCHOFIELD LLC, 475E
CATHERINE LLC, EHP28-30 GREYLOCK LLC, and          NOTICE OF MOTION FOR LEAVE
EPH312N SUMMER LLC,                                TO WITHDRAW AS COUNSEL FOR
                                                     DEFENDANTS GARTH ANDRE
                        Plaintiffs,                      NAAR AND AVATAR
          v.                                            MANAGEMENT LLC

GARTH ANDRE NAAR, AVATAR MANAGEMENT
LLC, and SILVAN REAL ESTATE INCOME FUND,
LP,
                   Defendants,
        and

EHP76B HECKEL LLC, EHP224N PARKER LLC,
HHP256 NEPTUNE LLC, UHP461-HHP6600NB
SMITH LLC, 475E CATHERINE LLC, EHP28-30
GREYLOCK LLC, and EPH312N SUMMER LLC.

                         Nominal Defendants.



TO:      All Counsel of Record - via CM/ECF
         Garth Andre Naar – via email and overnight mail
         Avatar Management LLC – via email and overnight mail




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         PLEASE TAKE NOTICE that on December 3, 2018, or as soon thereafter as counsel

may be heard, Cole Schotz P.C. (“Cole Schotz”), attorneys for defendants Garth Andre Naar and

Avatar Management LLC (collectively, the “Avatar Parties”), shall move before the Honorable

Kevin McNulty, U.S.D.J., of the United States District Court for the District of New Jersey,

Newark Vicinage, located at the Martin Luther King Building & United States Courthouse, 50

Walnut Street, Newark, New Jersey 07101, for the entry of an Order granting leave for Cole

Schotz to withdraw as counsel for the Avatar Parties (the “Motion”).

         PLEASE TAKE FUTHER NOTICE that the undersigned will rely upon the

accompanying Declaration of Edward S. Kiel dated November 2, 2018 and Brief in Support of

the Motion. A proposed form of Order has also been submitted.

         PLEASE TAKE FURTHER NOTICE that the Court has directed that any opposition

to the Motion be filed and served on all parties by November 9, 2018.

                                                   COLE SCHOTZ P.C.
                                                   Attorneys for Defendants Gath Andre Naar
                                                   and Avatar Management LLC



                                                   By:     /s/ Edward S. Kiel
                                                           Edward S. Kiel
                                                           Eric S. Latzer
                                                           Elizabeth A. Carbone

Dated: November 2, 2018




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